Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 1 of 13 Page ID #:559



 1   COOLEY LLP
     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
 2   3 Embarcadero  Center
     20th Floor
 3   San Francisco, CA 94111
     Telephone: (415) 693-2000
 4   Facsimile: (415) 693-2222
 5   TIANA DEMAS (pro hac vice) (tdemas@cooley.com)
     110 N. Wacker Drive, Suite 4200
 6   Chicago, IL 60606
     Telephone: (312) 881-6500
 7   Facsimile: (312) 881-6598
 8   BARRETT J. ANDERSON (318539) (banderson@cooley.com)
     WALTER C. WAIDELICH (300798) (cwaidelich@cooley.com)
 9   4401 Eastgate Mall
     San Diego, CA 92121
10   Telephone: (858) 550-6000
     Facsimile: (858) 550-6420
11
     GREGORY MERCHANT (341287) (gmerchant@cooley.com)
12   3175 Hanover Street
     Palo Alto, CA 94304
13   Telephone: (650) 843-5000
     Facsimile: (650) 849-7400
14
15   Attorneys for Defendant
     THE STATE BAR OF CALIFORNIA
16
17                        UNITED STATES DISTRICT COURT
18          CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
19
20   JOHN ROE 1, an individual; JANE      Case No. 8:22-cv-00983-SSS-DFM
     ROE 1, an individual; JANE ROE 2
21   an individual; JANE ROE 3, an        JOINT CASE MANAGEMENT STATEMENT
     individual, JOHN ROE 2, on behalf
22   of themselves and all others         Courtroom: 2
     similarly situated,
23                                        Judge:     Hon. Sunshine S. Sykes
                    Plaintiffs,
24         v.
25   THE STATE BAR OF
     CALIFORNIA; TYLER
26   TECHNOLOGIES, INC.; KEVAN
     SCHWITZER; RICK RANKIN;
27   and DOES 4 through 10, inclusive,
28                  Defendants.

                                                      JOINT CASE MANAGEMENT STATEMENT
                                                          CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 2 of 13 Page ID #:560



 1          Pursuant to paragraph 10 of the Court’s Reassignment Order filed by the Court
 2   on June 29, 2022 in the above-captioned case, (Dkt. 48), Plaintiffs and Defendants
 3   The State Bar of California, Tyler Technologies, Inc. (“Tyler”), and Rick Rankin, by
 4   and through their respective counsel of record (collectively, the “Parties”), hereby
 5   provide their Joint Case Management Statement.
 6          a.    Filing Date
 7          PLAINTIFFS’ POSITION:
 8          Plaintiff generally accepts Defendants’ position below.
 9          DEFENDANTS’ POSITION:
10          Plaintiffs filed this case in California state court on March 18, 2022. Tyler
11   removed the case to this court on May 13, 2022. (Dkt. 1.)
12          b.    Description of Parties
13          PLAINTIFFS’ POSITION:
14          Plaintiffs are class representatives consisting of attorney members, one former
15   judge, and complainants whose identities were breached, representing the 300,525
16   other members and complainants that had their confidential records publicized on the
17   internet.
18          The State Bar is not organized under the California Constitution. It is organized
19   under the State Bar Act (see Bus & Prof Code § 6001).
20          Tyler Technologies is the vendor who sold their software system called
21   Odyssey to the State Bar. It was the portal and failure to institute proper checks that
22   led to making all of the confidential investigations and matters public at the State
23   Bar.
24          Rick Rankin is the interim Information Technology Director for the State Bar.
25          DEFENDANTS’ POSITION:
26          Plaintiffs are five anonymous individuals who are allegedly either (a) attorneys
27   who have been the subject of a State Bar disciplinary proceeding or (b) individuals
28   who have submitted complaints against attorneys, i.e., complaining witnesses.
                                                            JOINT CASE MANAGEMENT STATEMENT
                                                1              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 3 of 13 Page ID #:561



 1          The State Bar is a public corporation organized under the California
 2   Constitution as an administrative arm of the California Supreme Court for the
 3   licensing and regulation of attorneys.
 4          Tyler is a software company that created and maintains the Odyssey Portal, an
 5   online case management system used by the State Bar.
 6          Mr. Rankin is an independent contractor hired by the State Bar as its interim
 7   IT Director.
 8          c.        Summary of Claims
 9          PLAINTIFFS’ POSITION:
10          This is a data breach case wherein the State Bar of California did not care to
11   protect the members who were breached displaying what some may consider to be
12   anticompetitive animus. The breach included members who had medical issues in
13   addition to confidential investigations that the State Bar instituted, in at least one
14   instance the information included the member’s social security number. The
15   description of the causes of action listed below by Defendants’ is generally accepted
16   by plaintiffs.
17          DEFENDANTS’ POSITION:
18          This case arises from a third party’s harvesting and posting of limited
19   nonpublic docket-level information about attorney disciplinary complaints filed with
20   the State Bar and hosted on the Odyssey Portal. Plaintiffs have asserted seven claims:
21          Claim One: Violation of the California Information Practices Act, Cal. Civ.
22   Code §1798, against the State Bar, for which Plaintiffs seek injunctive relief, actual
23   and general damages, costs, attorney fees, and any further relief the Court would
24   deem appropriate and just.
25          Claim Two: Invasion of privacy under article I, section 1 of the California
26   Constitution, against all Defendants, for which Plaintiffs seek injunctive relief, costs,
27   attorney fees, and any further relief the Court would deem appropriate and just.
28          Claim Three: Invasion of privacy under the California Information Practices
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                 2              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 4 of 13 Page ID #:562



 1   Act, Cal. Civ. Code §1798.53, against Tyler and Does 4 through 10, for which
 2   Plaintiffs seek actual and general damages, costs, exemplary damages of at least
 3   $2,500 per Plaintiff and class member, attorney fees, and any further relief the Court
 4   would deem appropriate and just.
 5         Claim Four: Violation of section 2 of the Sherman Antitrust Act, 15 U.S.C.
 6   § 2, against the State Bar, Tyler, and Does 4 through 10, for which Plaintiffs seek
 7   actual and general damages, costs, attorney fees, treble damages, and any further
 8   relief the Court would deem appropriate and just.
 9         Claim Five: Violation of section 3 of the Sherman Antitrust Act, 15 U.S.C.
10   § 3, against the State Bar, Tyler, and Does 4 through 10, for which Plaintiffs seek
11   injunctive relief, actual and general damages, costs, attorney fees, treble damages,
12   and any further relief the Court would deem appropriate and just.
13         Claim Six: Negligence under California state common law against the State
14   Bar, Tyler, and Mr. Rankin, for which Plaintiffs seek actual and general damages,
15   costs, and any further relief the Court would deem appropriate and just.
16         Claim Seven: Negligence per se under California state common law against
17   all Defendants, for which Plaintiffs seek actual and general damages, costs, and any
18   further relief the Court would deem appropriate and just.
19         d.     Description of Events Underlying the Action
20         PLAINTIFFS’ POSITION:
21         In or about 2019, sometime after March 16, 2018, the State Bar of California
22   intentionally transferred some or all their confidential records contained in their AS
23   400 Case Management System to a new Case Management System referred to as
24   “Odyssey” which it purchased for approximately $3 million from Tyler Technologies.
25   From that time forward, all confidential records maintained by the Office of Chief Trial
26   Counsel were open for the public to scrape from the State Bar website because the
27   State Bar, its interim Director of IT and Tyler Technologies all failed to adequately
28   test and secure the information. On or about February 21, 2022 the State Bar was
                                                            JOINT CASE MANAGEMENT STATEMENT
                                                3              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 5 of 13 Page ID #:563



 1   notified by a complainant on the East Coast that the confidential records could be
 2   viewed in a free public records database called JudyRecords.com online. When
 3   members asked if the breach pertained to their information the State Bar refused to
 4   give out the information on the grounds it was confidential. When the State Bar started
 5   receiving government tort claims, they started to sweep it all under the rug and
 6   obfuscate what actually occurred. The existence of the record at all – is what is
 7   confidential. These records include everything from members who were being
 8   investigated based on an allegation of misconduct that was not public to members who
 9   may have had a medical issue. The State Bar’s own notice admits that at least one
10   social security number was found in the public domain. Social security numbers are
11   not normally found on “dockets.” More importantly, it is not the particular information
12   in the record that is important. It is just knowing that the record exists is the harm. For
13   example, if the FISA court suffered a data breach, every person ever investigated by
14   the FISA court as being a potential terrorist out there in the wild whether legitimate or
15   not would surely taint the reputation and haunt that person forever leading to reputation
16   loss, job loss, even extortion or threats. The same is true for confidential records where
17   they exist in the State Bar whether legitimate or not would surely taint the reputation
18   and haunt that attorney forever leading to reputation loss, job loss, even extortion or
19   threats. Importantly, these confidential matters include sensitive medical issues that
20   may confront a member. The State Bar has the uncanny ability to investigate and
21   suspend a member for not only a mental health issue, but also for drug or alcohol abuse,
22   or even a physical medical condition. Those are all part of the same confidential
23   records residing in Odyssey that was breached from the Office of Chief Trial Counsel.
24         But, the State Bar, Rick Rankin and Tyler Technologies worried more about the
25   message than trying to mitigate harm to the 322,525 people whose confidential records
26   were released. It was not until on or about May 19, 2022 that it started sending out
27   purported notices, but the notices obfuscated the breach fooling and beguiling some
28   victims into believing their records were not available to the public since 2019.
                                                              JOINT CASE MANAGEMENT STATEMENT
                                                 4               CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 6 of 13 Page ID #:564



 1         Plaintiffs contend that this lack of proper response by the State Agency and
 2   Tyler Technologies was opportunistic and monopolistic in how they characterized the
 3   breach and dealt with the aftermath.
 4         Tyler Technologies has a history of problem software solutions. For example,
 5   prior lawsuits show that its case management system employed in criminal cases had
 6   wrongfully detained persons who were not supposed to be in jail through, possibly,
 7   records and names being deleted from the releasee list.
 8         Plaintiffs settled with former Defendant Kevan Schwitzer, the owner of
 9   JudyRecords in order to obtain the information he had before all evidence was tainted.
10         DEFENDANTS’ POSITION:
11         Defendants’ Position: The State Bar’s mission is to protect the public and
12   includes the primary functions of licensing, regulation, and discipline of attorneys;
13   the advancement of the ethical and competent practice of law; and support of efforts
14   for greater access to, and inclusion in, the legal system. A core part of the State Bar’s
15   disciplinary function includes reviewing and prosecuting, as necessary, ethics
16   complaints against attorneys. To carry out these core functions, the State Bar uses
17   the Odyssey Portal, an online case management system created and maintained by
18   Tyler. The Odyssey Portal, which is accessible from the State Bar Court’s website,
19   allows interested individuals to view publicly filed documents from State Bar Court
20   disciplinary proceedings, i.e., once formal charges are filed.
21         On February 24, 2022, the State Bar learned that certain nonpublic attorney
22   disciplinary data—case number, filing date, case type, case status, and respondent
23   and complaining witness names (“Docket Data”)—had been harvested from the
24   Odyssey Portal and posted on JudyRecords.com, a third-party website that
25   aggregates court records and is managed by an individual named Kevan Schwitzer
26   (the “Incident”).1
27   1
      Plaintiffs named first JudyRecords.com, and then substituted Mr. Schwitzer, as a
28   defendant in this case. (Dkt. 1-B.) Plaintiffs voluntarily dismissed Mr. Schwitzer on
     May 9, 2022. (Dkt. 26.)
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                 5              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 7 of 13 Page ID #:565



 1         The State Bar and Mr. Rankin—the principal of RPR Impact, LLC and an
 2   independent contractor acting as interim IT Director for the State Bar—swiftly
 3   responded to the Incident. Among other things, they immediately disabled the
 4   Odyssey Portal, contacted the hosting provider and domain name registrar for
 5   JudyRecords.com to demand immediate removal of Docket Data, and then worked
 6   with Mr. Schwitzer to delete Docket Data from the site. By February 26, 2022,
 7   JudyRecords.com had deleted all Docket Data from the site. The State Bar promptly
 8   and transparently informed the public about the Incident by immediately issuing a
 9   press release and providing regular updates on a dedicated webpage, as well as
10   directly informing the individuals associated with the publicly-disclosed Docket Data
11   records. The State Bar also informed the public that, during the time Docket Data
12   was available on JudyRecords.com (an approximately four-month period between
13   October 2021 and February 2022), only 1,034 records showed signs of having been
14   viewed (“Viewed Records”), and only six of those viewed records contained the case
15   type “Mental Health/Substance Abuse.”
16         Defendants’ investigation revealed that the Odyssey Portal had a previously-
17   unknown vulnerability. Due to that vulnerability, Mr. Schwitzer’s data-scraping
18   program collected both public records and Docket Data, which was not intended to
19   be public. As soon as Tyler was notified of the Incident, it addressed the security
20   vulnerability, and the Odyssey Portal was back online by March 15.
21         Plaintiffs are five anonymous individuals who allege that the State Bar
22   maintains disciplinary records that include their information in some way. John
23   Roe 1 and Jane Roe 1 allegedly filed complaints against attorneys. Jane Roe 2, Jane
24   Roe 3, and John Roe 2 allegedly are or were attorneys licensed to practice law in the
25   State of California and the subjects of complaints.
26         Plaintiffs do not allege that Docket Data pertaining to them was affected in any
27   way by the Incident, nor do they allege receiving notification letters from the State
28   Bar stating that their Docket Data was viewed by anyone. For example, Plaintiffs do
                                                           JOINT CASE MANAGEMENT STATEMENT
                                               6              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 8 of 13 Page ID #:566



 1   not specifically state that any information about them was released in the Incident,
 2   and if so, what that information was, who accessed it, and how this caused Plaintiffs
 3   to be negatively impacted. Additionally, the Viewed Records only contained certain
 4   surface-level Docket Data—specifically: case number, filing date, case type, case
 5   status, and respondent and complaining witness names. The Viewed Records did not
 6   contain any social security numbers, sensitive medical or health information,
 7   financial information, addresses, emails or other personal identifying information.
 8            Plaintiffs do not identify any concrete action taken or expense they incurred to
 9   mitigate the Incident’s purported effects. And nowhere do Plaintiffs allege that any
10   particular action or expense would have been a reasonable and necessary response to
11   this Incident, especially given Plaintiffs’ awareness that the limited information at
12   issue—the Docket Data—is not the type that can be used to steal someone’s identity.
13            e.    Description of Relief Sought
14            PLAINTIFFS’ POSITION:
15            Plaintiffs are seeking monetary damages, injunctive relief, attorney fees and
16   costs.
17            f.    Status of Discovery
18            PLAINTIFFS’ POSITION:
19            Plaintiff had served written discovery upon the Defendants when the case was
20   proceeding in state court (California Superior Court, County of Orange). However,
21   Tyler Technologies, with the consent of all defendants, removed the action to federal
22   court before the defendants responded.
23            Plaintiffs did settle with Kevan Schwitzer and obtained the communications
24   from him that he had with the other defendants.
25            Judge Carter’s order when issuing the date for Scheduling Conference also
26   allowed for discovery to take place, however, this case was then reassigned to this
27   Court. As such, plaintiffs have not been able to get the discovery to move this case
28   along.
                                                              JOINT CASE MANAGEMENT STATEMENT
                                                  7              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 9 of 13 Page ID #:567



 1         DEFENDANTS’ POSITION:
 2         The Parties have not started discovery and have not stipulated to any discovery
 3   limits or cutoffs.
 4         Defendants have each filed a motion to dismiss the First Amended Class
 5   Action Complaint (“FAC”) that would entirely resolve the claims against them.
 6   (Dkts. 35, 36, 38.) In the interests of judicial efficiency and conserving the Court’s
 7   and the Parties’ limited resources, Defendants do not believe that discovery should
 8   begin until after the Court’s resolution of those motions to dismiss.
 9         Separately, contrary to Federal Rule of Civil Procedure 10(a), Plaintiffs fail to
10   identify themselves in the FAC, and instead sue under Roe pseudonyms. Plaintiffs’
11   counsel has not identified these Roe Plaintiffs to Defendants’ counsel. Plaintiffs filed
12   a motion for protective order requesting leave to proceed using fictitious names, (Dkt.
13   41), which Defendants opposed, (Dkt. 46). Without the Plaintiffs’ identifying
14   information, Defendants are unable to begin discovery into any of individual
15   Plaintiffs’ claims, including the threshold issue of whether any of Plaintiffs’
16   information was included in a Viewed Record. As such, it would be improper to
17   allow Plaintiffs to engage in unilateral discovery until this issue is resolved.
18         g.     Procedural History
19         PLAINTIFFS’ POSITION:
20         Plaintiff’s do not concede the removal was timely but generally accept the
21   procedural outline by defendants below.
22         DEFENDANTS’ POSITION:
23         On March 18, 2022, Plaintiffs John Roe 1, Jane Roe 1, Jane Roe 2, and Jane
24   Roe 3 filed a complaint in the Superior Court of the State of California for the County
25   of Orange, a case captioned Roe v. The State Bar of California, Case No. 30-2022-
26   01250695-CU-AT-CXC. (Dkt. 1, Ex. A.) As originally filed, the complaint named
27   the State Bar, JudyRecords.com, an Employee Doe, and Does 1 through 10 as
28   defendants. (Id.)
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                 8              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 10 of 13 Page ID #:568



  1         On    March     24,   Plaintiffs   amended    their   complaint    to   substitute
  2   JudyRecords.com with Kevan Schwitzer. (Dkt. 1, Ex. B.) On March 25, Plaintiffs
  3   amended their complaint to substitute the fictitiously named defendant, Doe 1, with
  4   the true name of the party, Tyler. (Dkt. 1, Ex. E.) On April 13, Plaintiffs filed the
  5   FAC. (Dkt. 1, Ex. H.) Among other changes, the FAC: (1) added an additional
  6   anonymous plaintiff, John Roe 2; (2) substituted a fictitiously named defendant, the
  7   Employee Doe, with the true name of an individual, Rick Rankin; (3) eliminated two
  8   causes of action alleging violations of Plaintiffs’ rights to informational privacy and
  9   equal protection under 42 U.S.C. § 1983; (4) added Tyler to the list of Defendants
10    against whom the Sherman Antitrust Act claims were asserted; (5) added causes of
11    action for common law negligence and negligence per se; and (6) altered various
12    other allegations.
13          On May 13, Tyler timely filed a Notice of Removal in the United States
14    District Court for the Central District of California. (Dkt. 1.) All properly joined and
15    served Defendants consented to the removal. Plaintiffs did not move to remand.
16          On May 19, the Parties stipulated to a briefing schedule for Defendants to
17    submit motions to dismiss, (Dkt. 23), and on June 6, the State Bar, Tyler, and Mr.
18    Rankin each filed a motion to dismiss the FAC. (Dkts. 35 (Tyler’s motion and related
19    filings), 36 (Rankin’s motion and related filings), 38 (the State Bar’s motion and
20    related filings).) On July 6, 2022, Plaintiffs filed oppositions to each of the State
21    Bar’s, Tyler’s, and Mr. Rankin’s motions to dismiss the FAC. (Dkts. 54–56.)
22    Pursuant to the Court’s reassignment order, (Dkt. 48), each Defendant has re-noticed
23    its motion to dismiss for September 16, (Dkts. 51–53).
24          As noted, on June 14, Plaintiffs moved for a protective order, requesting that
25    the Court grant leave for Plaintiffs to proceed using fictitious names. (Dkt. 41.)
26    Defendants filed a joint opposition on June 27. (Dkt. 46.) On June 23, Plaintiffs
27    moved to a disqualify the law firm Wagstaffe, Von Lowenfeldt, Busch & Radwick
28    from representing the State Bar. (Dkt. 42.) The State Bar also intends to oppose that
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                 9              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 11 of 13 Page ID #:569



  1   motion. Plaintiffs have re-noticed their motion for a protective order and motion to
  2   disqualify for September 16. (Dkts. 58–59.)
  3         h.     Deadlines Surviving Reassignment
  4         PLAINTIFFS’ POSITION:
  5         Plaintiffs generally accept Defendants’ position below.
  6         DEFENDANTS’ POSITION:
  7         Pursuant to the Parties’ stipulated briefing schedule, Defendants’ reply briefs
  8   in support of their motions to dismiss are due on July 25, 2022. (Dkt. 23 at 2.) No
  9   other deadlines were in place before reassignment.2
10          i.     Vacated Conferences and Trial Dates
11          PLAINTIFFS’ POSITION:
12          Plaintiffs generally accept Defendants’ position below.
13          DEFENDANTS’ POSITION:
14          The Court’s Reassignment Order vacated a Scheduling Conference that was
15    scheduled to occur on August 8, 2022, and a Conference of the Parties pursuant to
16    Federal Rule of Civil Procedure 26(f) that was scheduled to occur at least twenty-one
17    days before the Scheduling Conference. (Dkt. 45.) No other conference or trial dates
18    were vacated pursuant to the Court’s Reassignment Order.
19          j.     Consenting to Magistrate
20          PLAINTIFFS’ POSITION:
21          Plaintiffs consent to proceeding before the Magistrate.
22          DEFENDANTS’ POSITION:
23          Defendants consent to the jurisdiction of Magistrate Judge Douglas F.
24    McCormick to conduct all further proceedings in this case, including trial and final
25    judgment, pursuant to 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure
26
      2
27     The Parties agree that the deadlines for the State Bar’s opposition to the motion to
      disqualify and Plaintiffs’ reply briefs in support of their motions are set by the Local
28    Rules from the date that Plaintiffs’ re-noticed pursuant to the Court’s reassignment
      order (September 16) and thus are not deadlines that “survived” the reassignment.
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                10              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 12 of 13 Page ID #:570



  1   73(b). Defendants will contact Plaintiffs to coordinate filing a joint Statement of
  2   Consent to Proceed Before a United States Magistrate Judge.
  3         k.     Case Management Conference
  4         PLAINTIFFS’ POSITION:
  5         Plaintiffs generally accept Defendants’ position below.
  6         DEFENDANTS’ POSITION:
  7         Defendants do not believe that a case management conference is necessary
  8   until after the Court resolves Defendants’ motions to dismiss.
  9         l.     Case Schedule Relief
10          PLAINTIFFS’ POSITION:
11          There has been no scheduling conference yet.
12          DEFENDANTS’ POSITION:
13          Defendants do not seek any immediate relief regarding the case schedule.
14          m.     Other
15          PLAINTIFFS’ POSITION:
16          Plaintiffs were going to file for preliminary injunctive relief, but the case was
17    reassigned. If this Court would entertain a date earlier than September 16, 2022 that
18    would be appreciated by the Plaintiffs.
19          DEFENDANTS’ POSITION:
20          Defendants will oppose any motion for preliminary injunctive relief. In
21    addition to the fact that more than four months have passed since Plaintiffs filed their
22    Complaint, there is no basis for such a request. All allegedly confidential material
23    previously posted to judyrecords.com was permanently removed from the website by
24    February 27, 2022. Additionally, the Odyssey Portal security vulnerability was
25    promptly remediated by Tyler, and the State Bar has notified impacted individuals.
26    As such, there is no need for any injunctive relief.
27
28
                                                             JOINT CASE MANAGEMENT STATEMENT
                                                11              CASE NO. 8:22-CV-00983-SSS-DFM
Case 8:22-cv-00983-DFM Document 61 Filed 07/14/22 Page 13 of 13 Page ID #:571



  1 Dated: July 14, 2022                 COOLEY LLP
  2
                                         /s/Tiana Demas
  3                                      Tiana Demas
                                         Attorneys for Defendant
  4
                                         THE STATE BAR OF CALIFORNIA
  5
                                         The filer, Tiana Demas, attests that the other
  6
                                         signatories listed, on whose behalf the filing
  7                                      also is submitted, concur in the filing’s
                                         content and have authorized the filing.
  8
  9 Dated: July 14, 2022                 K&L GATES LLP
10                                       /s/Beth Petronio
                                         Beth Petronio
11
                                         Attorneys for Defendant
12                                       TYLER TECHNOLOGIES, INC.
13 Dated: July 14, 2022                  JEFFER MANGELS BUTLER &
14                                       MITCHELL LLP
15                                       /s/Michael A. Gold
16                                       Michael A. Gold
                                         Attorneys for Defendant
17                                       RICK RANKIN
18 Dated: July 14, 2022                  LAW OFFICES OF LENORE ALBERT
19
                                         /s/Lenore L. Albert
20                                       Lenore L. Albert
21                                       Attorney for Plaintiffs
                                         John Roe 1, Jane Roe 1, Jane Roe 2, Jane
22                                       Roe 3, and John Roe 2, on behalf of
23                                       themselves and all others similarly situated

24
25
26
27
28
                                                       JOINT CASE MANAGEMENT STATEMENT
                                           12             CASE NO. 8:22-CV-00983-SSS-DFM
